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 UNITED STATES BANKRUPTCY COURT
 FOR THE DISTRICT OF NEW JERSEY
 McMANIMON, SCOTLAND
                                                              Order Filed on May 30, 2024
 & BAUMANN, LLC                                               by Clerk
 75 Livingston Avenue, Second Floor                           U.S. Bankruptcy Court
 Roseland, New Jersey 07068                                   District of New Jersey

 (973) 622-1800
 Anthony Sodono, III (asodono@msbnj.com)
 Sari B. Placona (splacona@msbnj.com)
 Proposed Counsel for 703 Bakery Corp.,
 Chapter 11 Debtor and Debtor-in-Possession

 In re:
                                                 Chapter 11; Subchapter V
 703 BAKERY CORP.,
                                                 Case No. 24-15150 (VFP)
               Debtor.

          INTERIM ORDER (i) PROHIBITING UTILITY COMPANIES FROM
          DISCONTINUING, ALTERING OR REFUSING SERVICE, (ii) DEEMING
          UTILITY COMPANIES TO HAVE ADEQUATE ASSURANCE OF
          PAYMENT, AND (iii) ESTABLISHING PROCEDURES FOR RESOLVING
          REQUESTS FOR ADDITIONAL ASSURANCE PURSUANT TO 11 U.S.C.
          §§ 105(a) AND 366

    The relief set forth on the following pages, numbered two (2) through four (4), is hereby
ORDERED.




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Debtor:             703 Bakery Corp.
Case Number:        24-15150 (VFP)
Caption of Order:   Interim order (i) prohibiting utility companies from discontinuing, altering, or refusing
                    service, (ii) deeming utility companies to have adequate assurance of payment, and (iii)
                    establishing procedures for resolving requests for additional assurance pursuant to 11 U.S.C.
                    §§ 105(a) and 366
_____________________________________________________________________________________________

           Upon the motion (the “Motion”) of 703 Bakery Corp., Subchapter V Chapter 11 debtor

and debtor-in-possession (the “Debtor”), for entry of (i) an Interim Order; and (ii) a Final Order

(a) prohibiting the Utility Companies1 from discontinuing, altering or refusing service to the

Debtor except as set forth herein; (b) deeming the Utility Companies adequately assured of future

performance on the basis of the establishment of a Utility Deposit; and (c) establishing procedures

for resolving requests for additional assurance of payment; and upon consideration of the Motion

and all pleadings related thereto; and it appearing that the Court has jurisdiction to consider the

Motion in accordance with 28 U.S.C. §§ 157 and 1334; and it appearing that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding and

this Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that sufficient

cause exists for the relief set forth herein; and after due deliberation thereon, and good and

sufficient cause appearing therefor;

           It is hereby ORDERED, that

           1.       The Motion is granted as set forth herein on an interim basis.

           2.       The Debtor may amend the Utility Service List to delete a Utility Company, or may

seek to terminate a Utility Company, only if it has provided two weeks advance notice to such

Utility Company and has not received any objection from such Utility Company. If an objection

is received, the Debtor shall request a hearing before this Court at the next omnibus hearing date,

or such other date that the Debtor and the Utility Company may agree. The Debtor shall not deduct

from the Utility Deposit the amount set aside for any Utility Company that the Debtor seeks to


1
    Capitalized terms used but not defined herein shall have the same meaning ascribed to those terms in the Motion.


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terminate or delete from Schedule A unless and until the two weeks’ notice period has passed and

the Debtor has not received any objection to termination or deletion from such Utility Company,

or until any such objection has been resolved consensually or by order of the Court.

         3.         Until such time as the Final Order is entered by the Court, all Utility Companies

are prohibited from discontinuing, altering or refusing service to the Debtor on account of any

unpaid pre-petition charges, or discriminating against the Debtor, or requiring payment of a deposit

or receipt of any other security for continued service as a result of Debtor’s bankruptcy filing or

any outstanding pre-petition invoices other than as set forth in the Motion.

         4.         The Motion and this Interim Order shall be served, via first-class mail, on each

Utility Company which the Debtor believes could be affected by the Motion and all other parties

required to receive service under Federal Rule of Bankruptcy Procedure 2002 within five (5)

business days of entry of this Interim Order.

         5.         The deadline by which objections to the Utility Motion and the Final Order must

be filed and served is July 3, 2024 at 5:00 p.m. (EST). A final hearing, if required, on the

Utility Motion will be held on is July 11, 2024 at 11:00 a.m. (EST). If no objections are filed to

the Motion, the Court may enter the Final Order without further notice or hearing.

         6.         Before the Final Hearing, the procedures for determining requests for additional

assurance of payment as described in the Motion are approved as follows:

                    a)     Any Utility Company may request additional assurance of payment (an
                           “Additional Payment Request”) on or before the date set forth in the Bridge
                           Order for a Final Hearing (the “Additional Payment Request Deadline”) by
                           submitting the request to counsel to the Debtor, c/o McManimon, Scotland
                           & Baumann, LLC, 75 Livingston Avenue, Suite 201, Roseland, New Jersey



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                          07068 (Attn: Anthony Sodono, III, Esq., asodono@msbnj.com) and Sari B.
                          Placona, Esq., splacona@msbnj.com).

                    b)    Any Additional Payment Request must (i) be in writing, (ii) set forth the
                          location for which utility services are provided, (iii) include a summary of
                          the subject Debtor’s payment history relevant to the affected account(s),
                          including any security deposits or other pre-payments or assurances
                          previously provided by said Debtor, (iv) describe in sufficient detail the
                          reason(s) why the treatment afforded pursuant to the procedures set forth
                          herein does not constitute satisfactory adequate assurance of payment, (v)
                          include a proposal for what would constitute adequate assurance from the
                          Debtor, along with an explanation of why such proposal is reasonable.

                    c)    If a Utility Company makes a timely Additional Payment Request that
                          Debtor believes is reasonable, said shall be authorized in its sole discretion
                          to comply with such request without further order of the Court.

                    d)    If the Debtor believes that a Utility Company’s Additional Payment Request
                          is unreasonable, the Court shall conduct a Final Hearing on the date set forth
                          in the Interim Order (a “Determination Hearing”) to determine adequate
                          assurance to such Utility Company as necessary, or if additional assurance
                          as to payment to such Utility Company is necessary.

                    e)    Pending resolution of a Utility Company’s Additional Payment Request at
                          a Determination Hearing, such party shall be prohibited from altering,
                          refusing or discontinuing service to the Debtor.

                    f)    If a Utility Company fails to send an Additional Payment Request by the
                          Additional Payment Request Deadline, such Utility Company shall have
                          waived its right to make an Additional Payment Request and shall be
                          deemed to have received adequate assurance of payment in accordance with
                          section 366(c)(1)(A)(vi) by virtue of the Utility Deposit (Utility Companies
                          that do not send Additional Payment Requests to the parties set forth above
                          by the Additional Payment Request Deadline shall be collectively referred
                          to herein as the “Consenting Utility Companies”).

                    g)    A Utility Company shall be deemed to have adequate assurance of payment
                          unless and until a future order of this Court is entered requiring further
                          adequate assurance of payment.




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                                    EXHIBIT “A”


  Debtor’s Location                        Account          Monthly       Proposed
                       Utility Company
                                           Number           Average       Deposit
44 W 37TH ST          ConEdison           15841-91000-1     $3,500        $1,750
                      PO Box 1701
                      New York, NY
                      10116-1701
160 Broadway-closed   ConEdison            03794-80000-7    $300          $150
                      PO Box 1701
                      New York, NY
                      10116-1701
Times Square          ConEdison            94172-90000-6    $6,000        $3,000
                      PO Box 1701
                      New York, NY
                      10116-1701
Ave M                 ConEdison            50014-74000-0    $2,500        $1,250
                      PO Box 1701
                      New York, NY
                      10116-1701
Ave M                 National Grid        2342200457       $250          $125
                      P.O. Box 371416
                      Pittsburgh, PA 15250
Lawrence              PSE&G LI             0358-5014-00-8   $1,400        $700
                      PO Box 9039
                      Hicksville NY
                      11802-9039
Lawrence              Liberty Utilities    200006202358     $55           $27.50
                      PO Box 75463
                      Chicago, IL 75463
Lyndhurst             PSE&G NJ             7357379809       $8,000        $4,000
                      PO Box 14444
                      New Brunswick, NJ
                      08906-4444
Teaneck               PSE&G NJ             73 014 808 06    $1,200        $600
                      PO Box 14444
                      New Brunswick, NJ
                      08906-4444
